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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION               MDL 2804
OPIATE LITIGATION
                                           Case No. 17-md-2804
This document relates to:                  Hon. Dan Aaron Polster
All Actions




             EMERGENCY MOTION FOR RELIEF REGARDING
        PBM COUNSEL’S PUBLIC RECORDS REQUESTS TO PLAINTIFFS
         AND OTHER DIRECT COMMUNICATIONS WITH PLAINTIFFS
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            PRELIMINARY STATEMENT AND RELEVANT BACKGROUND1

         Purporting to “investigate” whether plaintiffs who have moved for leave to amend their

complaints to add the PBMs authorized counsel to do so, counsel for the PBMs (“PBM Counsel”)

have “sent public-records requests to many municipal plaintiffs” and plan to send hundreds more.

Doc. #5941, at 3; Ex. 1 (Tr. of Feb. 11, 2025 Special Master Hr’g), at 65. Despite knowing these

plaintiffs are “represented by . . . attorneys” in this litigation (Doc. #5941, at 3), PBM Counsel

have contacted the plaintiffs directly, without including their litigation counsel on the

communications or even notifying litigation counsel of the requests. Those communications in at

least some—and perhaps many—instances violate state rules of professional conduct for attorneys

and the very statutes under which PBM Counsel issued their “records requests.”

         Even if the relevant statutes technically permit the PBMs to seek this information, PBM

Counsel’s tactic to obtain what is plainly discovery through extrajudicial means undermines the

Court’s authority to ensure the fair and efficient management of this MDL. Those efforts represent

an end-run around the stay imposed in all non-bellwether cases by Case Management Order One

(“CMO 1”), which the Court imposed to “conserve judicial resources, reduce duplicative service,

avoid duplicative discovery, serve the convenience of the parties and witnesses, and promote the

just and efficient conduct of this litigation.” Doc. #232, at 1 (citing Fed. R. Civ. P. 1). To realize

those objectives, the Court directed that “[n]o party may conduct any discovery of another party

in this MDL proceeding not expressly authorized by this Order absent further Order of this Court

or express agreement of the parties.” Id. ¶ 9(a). CMO 1 permits discovery only in expressly

identified cases not relevant here. The Order further provides that “[u]nless otherwise directed by

this Court, the parties shall serve all papers that are not to be filed with the Court, including, but


1
 Unless otherwise indicated, emphasis in this brief is added and internal citations and quotation
marks have been omitted.



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not limited to, discovery requests or responses . . ., by electronic mail on Plaintiffs’ Liaison Counsel

and Defendant’s Liaison Counsel.” Id. ¶ 9(c). In bypassing plaintiffs’ litigation counsel and

seeking information at issue in these proceedings directly from plaintiffs, PBM Counsel’s records

requests defy at least the spirit, and arguably the letter, of the Order.

         The proper course, as contemplated by CMO 1, would have been for the PBMs to move

for discovery of plaintiffs regarding their authorization to sue the PBMs.2 The parties could then

have debated these issues or even agreed on parameters for such discovery, and the Court could

have weighed in. The PBMs and PBM Counsel chose instead to blindside plaintiffs and their

litigation counsel and upend the orderly administration of these proceedings. But perhaps that was

the point.

         If there were any question about PBM Counsel’s intent in issuing the requests, their breadth

provides the answer. Rather than focusing on documents sufficient to establish “plaintiff’s

authorization to seek leave to add claims against the PBMs” (Doc. #5941, at 3), the requests seek,

among other things, “[a]ll documents and other records relating to [plaintiff]’s approval to bring

claims against” the PBMs “in the national opioid litigation” and “[a]ll documents and

communications relating to any request by any law firm . . . or by any attorney . . . for approval

from [plaintiff] to sue” the PBMs in these proceedings. Ex. 2 (Jan. 28, 2025 letter from M. Hooker

re “Public Records Request to City of Oviedo, FL”). The threat these blunderbuss requests pose




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  This is not to say that such discovery would be proper. Among other issues, the PBMs’ records
requests appear to be based on the fundamental misconception that each plaintiff, regardless of the
state or jurisdiction where it is located, was required by law to adopt a specific resolution or enter
into a new retainer agreement with existing counsel of record in order to add additional defendants
to an ongoing previously filed action. There is simply no support for this proposition as a blanket
rule. And of course, less formal discussions between a plaintiff and its counsel of record
concerning whether or not to add particular defendants (or to take any other action in a pending
litigation) are by definition privileged.



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to the attorney-client privilege and work product protection is obvious. Indeed, that risk has

materialized, as at least one plaintiff representative has already disclosed privileged information

to PBM Counsel. See Ex. 1, at 74 (“We did receive privileged content from one of Eric Romanos’

[sic] clients, a city in Florida”). That PBM counsel contacted plaintiffs’ litigation counsel after

the fact and returned the information (see id.) is beside the point: the Court’s MDL oversight and

the Federal Rules’ safeguards aim to prevent precisely this type of undisciplined and unregulated

effort to obtain information from litigation adversaries. PBM Counsel evaded those guardrails,

which has harmed plaintiffs and promises to wreak further mischief as unsuspecting plaintiff

representatives provide information without appreciating its relevance (or not) to these cases or

focusing on litigation counsel’s privilege concerns.

       Even more egregious, PBM Counsel have communicated directly with plaintiffs, again

without including or notifying their litigation counsel, to request information beyond the records

requests. One such recent e-mail asked Plaintiff Lee County (Georgia)’s representative whether

“the County ha[s] documents memorializing [it]s consent [to amending its complaint to assert

claims against the PBMs],” “[w]ho consented to amending the complaint,” and whether “the

County [is] drawing a distinction between ‘consent’ and ‘approval.’” Ex. 3 (Feb. 19, 2025 e-mail

from B. Mancil to J. Skipper). These interrogatory-style inquiries contravene CMO 1 and

circumvent the Federal Rules of Civil Procedure, which govern discovery. The PBMs must cease

such communications immediately.

       In light of these serious concerns, the Plaintiffs’ Executive Committee respectfully requests

that the Court address this matter on an expedited basis. The PEC further requests that the Court,

whether through its inherent authority or under Rule 26(c), issue an order:




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             1) temporarily precluding the PBMs and PBM Counsel from enforcing compliance

with PBM Counsel’s existing requests to plaintiffs under state public records laws;

             2) temporarily precluding the PBMs and PBM Counsel from issuing any additional

public records requests to plaintiffs, including any “follow-up” in connection with existing

requests;

             3) directing that the parties—with Special Master Cohen’s involvement, if

necessary—attempt to agree on a stipulation that will address the information PBM Counsel seek

and provide for PBM Counsel to withdraw the records requests and forgo any further requests;

             4) directing the parties to jointly inform the Court within 30 days whether they have

reached an agreement, and if not, propose a schedule for further motion practice; and

             5) prohibiting the PBMs and PBM Counsel, as well as any other defendant in the

MDL, from communicating directly with plaintiffs (including any legal representative of plaintiffs

other than litigation counsel in these proceedings) without the involvement or prior consent of

plaintiffs’ litigation counsel.

             ADDITIONAL FACTS SUPPORTING THE REQUESTED RELIEF

        A.      PBM Counsel’s “Public Records Requests”

        Because PBM Counsel did not notify plaintiffs’ litigation counsel before issuing the

records requests, the PEC does not presently know how many requests have been issued. But

based on PBM Counsel’s statements during the parties’ recent hearing before the Special Master,

the PEC believes there are likely hundreds, with “700 more” to come. Ex. 1, at 65. The limited

information the PEC has thus far indicates the requests are expansive.

        A January 28, 2015 request from Matthew Hooker of Alston & Bird LLP to plaintiff City

of Oviedo, Florida (“Oviedo”) illustrates the PEC’s concerns. The request, addressed to Oviedo’s

City Clerk (who is not an attorney), does not disclose that Mr. Hooker and others at his firm



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represent the Optum entities in these proceedings. Ex. 2, at 1. Nor does the request refer to

Oviedo’s litigation counsel in these proceedings or copy him. Id.

       The request refers to the Florida Public Records Act, Fla. Stat. §§ 119.01 et seq., and seeks

the following categories of documents within Oviedo’s “possession, custody, or control”:

       •       “All documents and other records relating to the City of Oviedo’s approval to bring
               claims against” numerous Optum, UnitedHealth, Express Scripts, and Medco
               Health entities “in the national opioid litigation, In re Nat’l Prescription Opiate
               Litig., 1:17-md-2804 (N.D. Ohio) and its member cases (the ‘Opioid Litigation’)”);

       •       “All documents and other records relating to the City of Oviedo’s approval to file
               any complaint in the Opioid Litigation”;

       •       “All documents and other records relating to the City of Oviedo’s approval to
               amend or supplement its complaint in the Opioid Litigation”;

       •       “All documents and communications relating to any request by any law firm
               (including, but not limited to [City of Oviedo’s litigation counsel in these
               proceedings]) or by any attorney . . . for approval from the City of Oviedo to sue”
               the identified entities “in the Opioid Litigation”; and

       •       “All engagement agreements, engagement letters, memoranda of understanding,
               memoranda of agreement, letters of intent, contracts, or other agreements . . . that
               the City of Oviedo entered into with any law firms, attorneys, or other professionals
               (including, but not limited to [City of Oviedo’s litigation counsel in these
               proceedings]) to prosecute or assist with the prosecution of the Opioid Litigation or
               claims against any party or entity.”

       Alarmed by the scope of the requests and PBM Counsel’s deliberate efforts to exclude

plaintiffs’ litigation counsel from the process, certain plaintiffs’ litigation counsel raised these

issues with the Special Master during a February 11, 2025 hearing. Counsel emphasized the

potential inadvertent disclosure of privileged information, and Optum’s counsel admitted they “did

receive privileged content from one of Eric Romanos’ [sic] clients, a city in Florida” (i.e., Oviedo)

and only then did they contact Oviedo’s litigation counsel. Ex. 1, at 74. As another of our

colleagues noted during the hearing, “we’ve got a mess because we have clients responding to a




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request from defense counsel that are producing attorney-client information and we don’t even

know about it until after it happens.” Id. at 68.

        On the limited record before him, the Special Master did not direct PBM Counsel to refrain

from issuing records requests but admonished them to protect against the disclosure of privileged

information, of which they are “now on notice that that’s happening.” Id. at 71. The Special

Master explained:

        And what I’m going to try to ask you to do is to try and work out a way to ensure
        that that happens as little as possible. I don’t know what else that would require.
        Maybe it’s notice to the PEC or the attorneys who are representing that are not the
        PEC, but because we already see what’s happening is production of attorney-client
        privilege by mistake, then I think that you need to talk about a way to prevent that
        from occurring going forward prophylactically.

Id. at 72.

        Tellingly, while Optum’s counsel stated “we’ll try to address that” issue, he acknowledged:

“I mean, I don’t know what we can do. We make the request and we get back what we get back

sometimes, but—as much as we can.” Id. at 73. That is precisely our point: without Court-

imposed safeguards in place, even PBM Counsel admittedly “don’t know what [they] can do” to

minimize the risk of obtaining non-discoverable information.         Nor have they attempted to

coordinate with the PEC to prevent this from occurring again.

        The PEC believes PBM Counsel have issued hundreds of similar requests to other

plaintiffs. We are coordinating with other plaintiffs’ counsel to assess the scope of the requests

and identify concerns regarding the disclosure of privileged information or other issues.

        B.     PBM Counsel’s Requests for Additional Information from Plaintiffs

        In addition to submitting broad requests under public records statutes of the plaintiffs’

respective states of residence, PBM Counsel have communicated directly with plaintiffs to request

additional information beyond the records requests. For example, after plaintiff Lee County’s




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representative provided the County’s response to PBM Counsel’s request under Georgia’s Open

Records Act, Optum’s counsel at Alston & Bird made several additional inquiries and requests for

information.

       In response to Lee County’s statement that it identified other potentially responsive

documents but they were subject to attorney-client privilege, Optum’s counsel pressed the

County’s representative about those documents. Ex. 3, at 1. Additionally, in response to Lee

County’s representation that it “consented to amending [its] complaint to assert claims against the

Pharmacy Benefit Managers”—the information the PBMs’ “investigation” supposedly aims to

obtain—Optum’s counsel probed further:

       Does the County have documents memorializing that consent? Who consented to
       amending the complaint? And my request (reattached here) asked for records
       showing that the County approved amending or supplementing its complaint in the
       Opioid Litigation: is the County drawing a distinction between ‘consent’ and
       approval’?

Id.

       The Georgia Open Records Act provides that “[r]equests by civil litigants for records that

are sought as part of or for use in any ongoing civil or administrative litigation against an agency

shall be made in writing and copied to counsel of record for that agency contemporaneously with

their submission to that agency.” O.C.G.A. § 50-18-71(e). Optum’s counsel violated this rule

twice—first in sending the records request to Lee County and again in requesting additional

information from them, both times failing to include Lee County’s litigation counsel on the

communications.

       Even where plaintiffs’ litigation counsel was ultimately apprised of the initial public

records requests and responded with information the PBMs purport to need, PBM Counsel have

improperly requested discovery-style information from plaintiffs. Specifically, on February 18,

2025, litigation counsel for plaintiff St. Lucie County (Florida) represented to Optum’s counsel



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that “St. Lucie County, FL authorized us to add additional defendants, including Optum, on June

28, 2024.” Ex. 4 (Feb. 18, 2025 e-mail from E. Romano to M. Hooker). Plaintiff’s counsel further

explained “[t]he records documenting this authorization constitute attorney-client privileged

communications and are exempt from disclosure.” Id. This should have ended the exchange.

       Optum’s counsel, however, responded with a further request for information beyond its

records request. Noting “St. Lucie County held a formal council meeting in November 2024 to

vote on the decision to join the omnibus motion for leave to add Publix,” he inquired:

       Did it hold a similar meeting for OptumRx and Express Scripts? If not, can you
       please identify who from the County approved the formal decision to join the
       omnibus motions for leave to add OptumRx and Express Scripts?

In other words, faced with the inconvenient fact that St. Lucie authorized adding the PBMs as

defendants, Optum’s counsel raised additional challenges. That is the province of discovery.

                                          ARGUMENT

I.     The Court Should Temporarily Preclude The PBMs And PBM Counsel From
       Enforcing Compliance With The Records Requests And Direct The Parties To
       Confer About Providing Responsive Information.

       A.      The Court Has the Inherent Authority to Grant the Requested Relief.

       This Court has “authority and discretion to protect the integrity of the proceedings before

it.” Walker v. Crawford, 1999 WL 33917846, at *12 (N.D. Ohio Sept. 16, 1999) (O’Malley, J.).

Among other things, the Court “possess[es] the inherent authority to issue an order addressing [the

PBMs’] expressed intention to utilize the documents at issue in this case, especially in light of the

fact that [they] obtained these documents outside of this Court’s discovery process.” Cabotage v.

Ohio Hosp. for Psychiatry, LLC, 2012 WL 3064116, at *3 (S.D. Ohio July 27, 2012). Further,

courts “have issued protective orders with respect to documents obtained outside the normal




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discovery process pursuant to their inherent authority.” U.S. ex rel. Rector v. Bon Secours

Richmond Health Corp., 2014 WL 66714, at *4 (E.D. Va. Jan. 6, 2014).3

       To the extent (if at all) tension exists between an order by this Court precluding the PBMs

or PBM Counsel from enforcing plaintiffs’ compliance with the records requests and the state

public records statutes’ authorization to request such information, the Court’s order prevails. As

the court explained in Mata Chorwadi, Inc. v. City of Boynton Beach, “review of the narrow body

of caselaw that addresses the intersection of the Supremacy Clause [of the U.S. Constitution], State

public records laws, and federal court discovery orders reveals that a federal court order issued

pursuant to Rule 26 to prevent the disclosure of documents renders any state statute or regulation

to the contrary void pursuant to the Supremacy Clause.” 2020 WL 2516979, at *3 (S.D. Fla. May

18, 2020). That the Court’s order here may flow from its inherent authority and not Rule 26(c)

does not alter the conclusion. There is thus no concern that issuing an order excusing plaintiffs’

compliance with the records requests will subject them to liability under those state laws. See

Memorial Hosp. for McHenry Cnty. v. Shadur, 664 F.2d 1058, 1063 (7th Cir. 1981) (per curiam)

(“As to the Hospital’s claim that th[e] conflict between state and federal law places him ‘on the




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  The Court arguably also possesses authority to grant the requested relief through a protective
order issued under Rule 26(c). “[C]ourts have held in some instances that FOIA responses may
constitute discovery subject to the Court’s authority.” Hartman v. City of Sherwood, Ark., 2022
WL 4126338, at *2 (E.D. Ark. Sept. 9, 2022) (granting motion for protective order under Rule
26(c) to preclude plaintiff from obtaining information through Arkansas public records request).
Other courts, however, have held they “lack authority under Rule 26(c) to issue protective orders
regarding documents obtained wholly outside of the discovery process.” Rector, 2014 WL 66714,
at *3. This debate is academic here, as the requested relief falls within the Court’s inherent
authority. See, e.g., In re Shell Oil Refinery, 143 F.R.D. 105, 109 (E.D. La. 1992) (“Because Rule
26 does not authorize a district court to issue protective orders with respect to documents obtained
through means other than the court’s discovery processes, the Court’s . . . Order for production
should reflect that it was entered pursuant to the Court’s inherent authority to control and preserve
the integrity of its judicial proceedings.”).



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horns of an insoluble dilemma,’ we view this dilemma as wholly illusory when considered in light

of the Supremacy Clause of the United States Constitution.”).

       The Court therefore has the authority to entertain this request and direct the parties to

attempt to agree on a process for providing information regarding plaintiffs’ authorization to assert

claims against the PBMs, to the extent that such disclosure is appropriate.             The present

circumstances strongly support granting this relief.

       B.      PBM Counsel’s Violations of Ethical Rules and the Public Records Laws
               Themselves Warrant the Requested Relief.

       In addressing this motion, the Court need not determine whether PBM Counsel violated

rules governing attorneys’ conduct or state public records laws. But their conduct raises at least a

substantial concern, which supports the requested relief.

       Florida Rule of Professional Conduct 4-4.2, for example, provides that “[i]n representing

a client, a lawyer must not communicate about the subject of the representation with a person the

lawyer knows to be represented by another lawyer in the matter, unless the lawyer has the consent

of the other lawyer.” The Rule includes an exception where the lawyer makes the communication

“to meet the requirements of any court rule, statute or contract,” but even then “a copy must be

provided to the person’s lawyer.” In the above instances regarding Oviedo and St. Lucie County,

PBM Counsel unquestionably knew those plaintiffs are represented by litigation counsel in these

proceedings, yet they failed to obtain litigation counsel’s consent or even notify them before

communicating with those plaintiffs. Nor did PBM counsel initiate those communications to meet

any legal or contractual requirement. They were not required to make public records requests;

they elected to do so. And even if this exception applied, PBM Counsel violated the Rule by

failing to copy litigation counsel on its request.




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       During the February 11 hearing before the Special Master, PBM Counsel suggested they

need not include litigation counsel unless those attorneys “[a]re . . . representing those cities and

counties in responding to FOIA requests.” Ex. 1, at 65. But given the express references to this

litigation in the requests, PBM Counsel’s argument at best elevates form over substance. In any

event, PBM Counsel’s conduct at least raises a substantial concern regarding their ethical

obligations, which supports the relief requested here.

       Further, Florida’s public records law appears to preclude much or all of PBM Counsel’s

requests. The statute exempts from disclosure:

       [a] public record that was prepared by an agency attorney (including an attorney
       employed or retained by the agency or employed or retained by another public
       officer or agency to protect or represent the interests of the agency having custody
       of the record) or prepared at the attorney’s express direction, that reflects a mental
       impression, conclusion, litigation strategy, or legal theory of the attorney or the
       agency, and that was prepared exclusively for civil or criminal litigation or for
       adversarial administrative proceedings, or that was prepared in anticipation of
       imminent civil or criminal litigation or imminent adversarial administrative
       proceedings . . . until the conclusion of the litigation or adversarial administrative
       proceedings.

Accordingly, to the extent legal representatives of Oviedo or St. Lucie County (or other plaintiffs

subject to Florida’s public records law) conveyed those plaintiffs’ authorization to sue the PBMs

in these proceedings, the statute prohibits disclosure of documents memorializing that

authorization.

       PBM Counsel likewise violated Georgia law in issuing their “records request” to Lee

County. Georgia’s open records law directs that “[r]equests by civil litigants for records that are

sought as part of or for use in any ongoing civil or administrative litigation against an agency shall

be made in writing and copied to counsel of record for that agency contemporaneously with their

submission to that agency.” O.G.C.A. § 50-18-71(e). PBM Counsel’s failure to include plaintiffs’

litigation counsel on their request plainly contravened the statute.




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             These examples are not exhaustive, and the PEC is still assessing the extent of PBM

Counsel’s potential misconduct with respect to the many other plaintiffs to whom they issued

requests. But even this limited record demonstrates a compelling need for the Court to act, and

quickly, especially given the short production deadlines imposed by some of the statutes. E.g.,

O.G.C.A. § 50-18-71(b)(1)(A) (“Agencies shall produce for inspection all records responsive to a

request within a reasonable amount of time not to exceed three business days of receipt of a request

. . . .”).

             C.     In Issuing the Requests, PBM Counsel Undermined the Court’s Stay of the
                    Non-Bellwether Cases and Circumvented the Federal Rules.

             PBM Counsel’s public-records gambit also represents an affront to this Court’s orders,

which are meant to ensure the just and orderly administration of these proceedings.                 “In

discretionary matters going to the phasing, timing, and coordination of the cases, the power of the

MDL court is at its peak.” In re Korean Air Lines Co., 642 F.3d 685, 700 (9th Cir. 2011).

Exercising its expansive authority, the Court determined only bellwether cases would proceed to

discovery. See Doc. #232. PBM Counsel’s “records requests” are in direct tension with CMO 1

and the Court’s overall management of these proceedings.

             While they may not technically constitute “discovery” as contemplated by Rule 26, the

requests clearly seek information that is typically available only through discovery. Indeed, the

requests read right out of the discovery playbook, calling for “[a]ll documents and other records”

that relate to issues solely in this litigation. In the ordinary course, plaintiffs’ litigation counsel—

who are, unlike the plaintiff representatives who received the requests, intimately familiar with

these proceedings and the governing discovery standards—would be able to advise plaintiffs in

responding to such discovery requests.          This would include evaluating whether particular

documents are protected from disclosure as attorney-client communications or attorney work




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product. But because PBM Counsel purposefully excluded plaintiffs’ litigation counsel from the

requests, those safeguards were unavailable here. That is especially problematic because these

requests seek information bearing directly on plaintiffs’ rights in this litigation.

       PBM Counsel’s actions have, perhaps predictably, injected disorder and confusion into

these proceedings—the exact opposite of what CMO 1 and the Court’s other administrative

measures aim to achieve. The Court is thus well within its authority to at least temporarily suspend

plaintiffs’ obligations to comply with the records requests. Doing so will preserve the Court’s

sound management of these proceedings and help alleviate the unfairness to plaintiffs that PBM

Counsel’s tactics have caused.

       D.      The Requested Relief is Narrowly Tailored and of Limited Duration.

       The PEC appreciates the sensitivities involved in issuing protective orders or similar

measures that inhibit parties from communicating freely with public entities. The narrow and

time-limited relief the PEC seeks duly accounts for those considerations.

       First, this motion requests only a temporary pause on PBM Counsel’s ability to enforce

plaintiffs’ compliance with existing records requests. This will allow plaintiffs’ litigation counsel

and the PEC to coordinate and assess the scope of questions or problems that have arisen due to

the requests, including whether plaintiff representatives have inadvertently disclosed any

additional privileged material to PBM Counsel.

       Second, the PEC likewise requests that the Court only temporarily preclude the PBMs or

their counsel from issuing additional records requests, including any “follow-up” to existing

requests, while the parties attempt to reach a resolution or engage in further motion practice. Any

prejudice such a measure would impose on the PBMs or PBM Counsel pales in comparison to the

prejudice plaintiffs are already experiencing and will continue to suffer should PBM Counsel

persist in their improper public records campaign.



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        Third, the PEC asks that the Court direct the parties to confer—with the Special Master’s

assistance, if necessary—on a potential stipulation that will address the information PBM Counsel

seek and provide for PBM Counsel to withdraw the records requests and forgo any further requests.

Indeed, PBM Counsel represented during the February 11 hearing that “if we can work something

out where [plaintiffs’ litigation counsel] can respond or your clients can respond in some sworn

way, evidentiary way, then maybe we can dispense with those requests.” Ex. 1, at 65. This aspect

of the PEC’s motion should thus be uncontroversial.

        Fourth, the Court should order the parties to report within 30 days whether they have

reached an agreement, and if not, propose a schedule for further motion practice. This again

reflects the PEC’s efforts to minimize the burden on the Court and, if possible, reach a resolution

with the PBMs that would alleviate additional burdens on all parties.

        These discrete requests are fair and reasonable and strike an appropriate balance of the

parties’ respective interests.

II.     PBM Counsel Must Immediately Cease All Direct Communications With Plaintiffs.

        Beyond their “records requests,” PBM Counsel have communicated directly with

plaintiffs—once again excluding their litigation counsel—to request further information in the

nature of interrogatories. This constitutes a blatant violation of ethics rules and undermines

plaintiffs’ rights under the Federal Rules with respect to discovery. Full stop.

        Even assuming the state public records laws authorize PBM Counsel’s requests, those

statutes do not contemplate freewheeling and unregulated communications to obtain information

for use in pending civil litigation against the responding entities. Public entities have a duty to

“[p]rovid[e] access to public records,” Fla. Stat. § 119.01—nothing more.

        PBM Counsel’s actions go way over the line. As detailed above, their inquiries include

questioning or challenging plaintiffs’ responses to the records requests. No credible interpretation



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of the public records statutes contemplates a running dialogue between the requester and the

recipient regarding its response to a records request.

       Further, parties must pursue such inquiries through interrogatories or other means of

discovery, not direct communications with plaintiffs that exclude their litigation counsel. Among

other concerns, the potential for plaintiffs to disclose information to which the PBMs are not

entitled, including information subject to privilege or work product protection, is especially acute

in the context of informal direct communications between PBM Counsel and plaintiffs.

       The Court “ha[s] inherent authority to grant [plaintiffs] appropriate relief to remedy the

[PMBs’] circumvention of the normal discovery process.” United States v. Comco Mgmt. Corp.,

2009 WL 4609595, at *4 (C.D. Cal. Dec. 1, 2009). It should exercise that authority and preclude

the PBMs and PBM Counsel, as well as any other defendant in these proceedings, from

communicating directly with plaintiffs without the involvement or prior consent of their litigation

counsel.

                                         CONCLUSION

       PBM Counsel’s improper conduct warrants immediate relief. Based on the foregoing

considerations, the Court should entertain this motion on an expedited basis and order the relief

requested above.


 Dated: February 21, 2025                        Respectfully submitted,

                                                 Plaintiffs’ Co-Lead Counsel

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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 21, 2025, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of record by,

and may be obtained through, the Court’s CM/ECF system.


                                             /s/ Peter H. Weinberger
                                             Peter H. Weinberger




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